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UNITED STATES DISTRICT COURT F"£D BY -Y-é- D-C-
WESTERN DISTRICT oF TENNESSEE
MEMPHIS DIVISION 05 AUG 17 AH |0= 22
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111 re ACCREDO HEALTH, INC. SECURITIES civil Action NO. 03-cv-2216 - BBD

LITIGATION
C_LA§§_AM

 

This Document Relates To:
Judge Berm`ce B. Donald
ALL ACTIONS.

 

 

j ORDER REVISING THE JOINT CASE MANAGEMENT
STATEMENT AND RULE 16(b) SCHEDULING ORDER

This document entered on the docket sheet in compliance //)'2/)

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with Hu|e 58 and/or 79{3) FRCP on /g "J

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Having considered the Joint Motion to Revise the Joint Case Management Statement and
Rule 16(b) Scheduling Order, and good cause appearing therefore, IT IS HEREBY ORDERED
that:

1. Defendants shall file and serve their opposition to the Motien for Class
Certif`leation no later than Septernber 23, 2005;

2. Lead Plaintiffs shall file and serve their Reply Memorandum no later than
October 13, 2005; and

3. Any hearing on the Motion for Class Certification shall be set consistent with any

local rules and at the Court’S convenience

So ORDERED this / 64'\ day of

    

  

BERNIC B. DONALD
United States District .ludge

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 154 in
case 2:03-CV-02216 Was distributed by faX, mail, or direct printing on
August 18, 2005 to the parties listed.

 

 

David W. Mitchell

LERACH COUGHLIN STOIA GELLER RUDMAN & ROBBINS LLP
401 B St

Ste 1600

San Diego7 CA 92101

Eitan Misulovin

BERNSTEIN LITOWITZ BERGER & GROSSMAN
1285 Ave of the Americas

38th Floor

NeW York7 NY 10019

Douglas F. Halijan

BURCH PORTER & JOHNSON
130 N. Court Avenue

1\/lemphis7 TN 38103

George E. Barrett

BARRETT JOHNSTON & PARSLEY
217 Second Avenue North

Nashville, TN 37201--160

Timothy L. Miles

BARRETT JOHNSTON & PARSLEY
217 Second Avenue North

Nashville, TN 37201--160

Douglas M McKeige

BERNSTEIN LITOWITZ BERGER & GROSSMAN
1285 Ave of the Americas

38th Floor

NeW York7 NY 10019

Erin P. McDaniel

LERACH COUGHLIN STOIA GELLER RUDMAN & ROBBINS, LLP
401 B St.

Ste. 1700

San Diego7 CA 92101

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Tor Gronborg

LERACH COUGHLIN STOIA GELLER RUDMAN & ROBBINS, LLP
401 B St.

Ste. 1700

San Diego7 CA 92101

Richard A. Lockridge

LOCKR]DGE GRINDAL NAUEN7 PLLP
100 Washington Ave., South

Ste. 2200

1\/linneapolis7 MN 55401

Amy E Amy E. Ferguson
GLANKER BROWN
One Commerce Square
Seventeenth Floor
1\/lemphis7 TN 38103

Mel E. Lifshitz

BERNSTEIN LIEBHARD & LIFSH[TZ, LLP
10 East 40th Street

NeW York7 NY 10016

Karen M. Campbell

GARY K. SMITH & ASSOCIATES, PLLC.
100 Peabody Place

Ste. 1050

1\/lemphis7 TN 38103

Heather Guilette Walser
JONES & DAY

51 Louisiana Avenue, N.W.
Washington, DC 20001--21 1

William S. Lerach

LERACH COUGHLIN STOIA GELLER RUDMAN & ROBBINS, LLP
401 B St.

Ste. 1700

San Diego7 CA 92101

Quitman Robins Ledyard
BOROD & KRAMER
80 Monroe Ave.

Ste. G-1

1\/lemphis7 TN 38103

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Lauren S. Antonino
CHITWOOD & HARLEY
1230 Peachtree St., N.E.
2900 Promenade ll
Atlanta, GA 30309

Ramzi Abadou

LERACH COUGHLIN STOIA GELLER RUDMAN & ROBBINS, LLP
401 B St.

Ste. 1700

San Diego7 CA 92101

Shpetim Ademi

ADEl\/H & O'REILLY, LLP
3620 East Layton Ave.
Cudahy7 WI 53110

B. J. Wade

GLASSMAN EDWARDS WADE & WYATT, P.C.
26 N. Second Street

1\/lemphis7 TN 38103

Linda F Burnsed

CHERNAU, CHAFFIN & BURNSED
One American Center

3100 West End Ave

Ste 550

Nashville, TN 37203

Guri Ademi

ADEl\/H & O'REILLY, LLP
3620 East Layton Ave.
Cudahy7 WI 53110

Peter Q. Bassett
ALSTON & BIRD

1201 West Peachtree St.
Atlanta, GA 30309--342

Marc A. Topaz

SCH[FFRIN & BARROWAY
3 Bala Plaza East

Ste. 400

Bala Cynwyd, PA 19004

David A. Thorpe

LERACH COUGHLIN STOIA GELLER RUDMAN & ROBBINS, LLP
401 B St.

Ste. 1700

San Diego7 CA 92101

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Emily C. Komlossy

GOODKIND LABATON RUDOFF & SUCHAROW
3595 Sheidan St.

Ste. 206

Hollywood, FL 33021

Mark Solomon

LERACH COUGHLIN STOIA GELLER RUDMAN & ROBBINS, LLP
401 B St.

Ste. 1700

San Diego7 CA 92101

John H. Goselin
ALSTON & BIRD

1201 West Peachtree St.
Atlanta, GA 30309--342

Carol V. Gilden

MUCH SHELIST FREED DENENBERG Al\/[ENT & RUBENSTEIN, P.C.
191 N. Wacker Dr.

Ste. 1800

Chicago, IL 60606--161

J ames E. Gauch

JONES & DAY

51 Louisiana Avenue, N.W.
Washington, DC 20001--21 1

Mark C. Gardy
ABBEY GARDY, LLP
212 East 39th St.

NeW York7 NY 10016

Trig R. Smith

LERACH COUGHLIN STOIA GELLER RUDMAN &
401 B St.

Ste. 1700

San Diego7 CA 92101

Samuel H. Rudman

LERACH COUGHLIN STOIA GELLER RUDMAN & ROBBINS, LLP
200 Broadhollow Rd.

Ste. 406

Melville, NY 11747

Gary K. Smith

GARY K. SMITH & ASSOCIATES, PLLC.
100 Peabody Place

Ste. 1050

1\/lemphis7 TN 38103

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Nancy Kaboolian
ABBEY GARDY, LLP
212 East 39th St.

NeW York7 NY 10016

F. Guthrie Castle

CASTLE & ASSOCIATES
6555 Quince Rd.

Ste. 109

1\/lemphis7 TN 38119

David A. Rosenfeld

LERACH COUGHLIN STOIA GELLER RUDMAN & ROBBINS, LLP
200 Broadhollow Rd.

Ste. 406

Melville, NY 11747

Jef Feibelman

BURCH PORTER & JOHNSON
130 N. Court Avenue

1\/lemphis7 TN 38103

Robert M. Roseman

SPECTOR ROSEMAN & KODROFF, P.C.
1818 Market St.

Ste. 2500

Philadelphia, PA 19103

Richard Nicholas Rodelli

BERNSTEIN LITOWITZ BERGER & GROSSMAN
12544 High Bluff Dr

Ste 150

San Diego7 CA 92130

Douglas S. Johnston

BARRETT JOHNSTON & PARSLEY
217 Second Avenue North

Nashville, TN 37201--160

Nadeem Faruqi

FARUQI & FARUQI7 LLP
320 East 39th St.

NeW York7 NY 10016

Gregory M. Egleston

BERNSTEIN LIEBHARD & LIFSH[TZ, LLP
10 East 40th Street

NeW York7 NY 10016

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Fred Taylor lsquith

WOLF HALDENS TEIN ADLER FREEMAN & HERZ LLP
270 Madison Ave.

NeW York7 NY 10016

Timotny A. DeLange

BERSTEINE LITOWITZ BERGER & GROSSMAN
12544 High Bluff Drive

Ste 150

San Diego7 CA 92130

Darren J Robbins

LERACH COUGHLIN STOIA GELLER RUDMAN & ROBBINS, LLP
401 B St.

Ste. 1700

San Diego7 CA 92101

Dixie W. lshee

WOOD CARLTON & ISHEE
1407 Union Ave.

Ste. 71 1

1\/lemphis7 TN 38103

Kevin Hunter Sharp
PRESTON & SHARP7 P.C.
216 19th Ave.,N.
Nashville, TN 37203

Paul Kent Bramlett
BRAMLETT LAW OFFICES
P.O. Box 150734

Nashville, TN 37215--073

Martin D. Chitwood

CHITWOOD HARLEY & HARNES LLP
1230 Peachtree St., N.E.

2900 Promenade ll

Atlanta, GA 30309

Oni A. Holley
ALSTON & BIRD

1201 West Peachtree St.
Atlanta, GA 30309--342

Saul C Saul C. Belz
GLANKLER BROWN
One Commerce Sq.
Ste. 1700

1\/lemphis7 TN 38103

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Mary-Helen Perry

JONES & DAY

51 Louisiana Avenue, N.W.
Washington, DC 20001--21 1

Marc S. Henzel

LAW OFFICES OF MARC S. HENZEL
273 Montgomery Ave.

Ste. 202

Bala Cynwyd, PA 19004

Gregory M. Nespole

WOLF HALDENS TEIN ADLER FREEMAN & HERZ LLP
270 Madison Ave.

NeW York7 NY 10016

Javier Bleichmar

BERNSTEIN LITOWITZ BERGER & GROSSMAN
1285 Ave of the Americas

38th Floor

NeW York7 NY 10019

Ronald B. Hauben
ERNST & YOUNG

5 Times Square
NeW York7 NY 10036--653

Karen M. Hanson

LOCKR]DGE GRINDAL NAUEN7 PLLP
100 Washington Ave., South

Ste. 2200

1\/linneapolis7 MN 55401

Steven J. Brogan

JONES & DAY

51 Louisiana Avenue, N.W.
Washington, DC 20001--21 1

Stanley M Chernau

CHERNAU, CHAFFIN & BURNSED
One American Center

3100 West End Ave

Ste 550

Nashville, TN 37203

Michael E. Moskovitz

MUCH SHELIST FREED DENENBERG Al\/[ENT & RUBENSTEIN, P.C.
191 N. Wacker Dr.

Ste. 1800

Chicago, IL 60606--161

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Honorable Bernice Donald
US DISTRICT COURT

